      Case: 1:20-cv-05956 Document #: 54 Filed: 06/24/21 Page 1 of 1 PageID #:1292




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
 TOMI TRANCHITA,                  )
                                  )
           Plaintiff,             ) Case No. 20-cv-5956
                                  )
 v.                               ) Hon Sara L. Ellis
                                  )
 KWAME RAOUL, et al.              )
                                  )
           Defendants.            )
                                  )

                                     NOTICE OF FILING

To:      Attorneys of Record

      PLEASE TAKE NOTICE that on June 24, 2021, I caused to be filed with the Clerk of
the United States District Court, Northern District of Illinois, Eastern Division, Defendants’
Motion to Dismiss Plaintiff’s Second Amended Complaint and Memorandum of Law in
Support of Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint.

                                                     /s/ Mary A. Johnston
                                                     MARY A. JOHNSTON
                                                     ASSISTANT ATTORNEY GENERAL
                                                     Office of the Illinois Attorney General
                                                     General Law Bureau – Civil Rights Unit
                                                     100 W. Randolph St., 13th Floor
                                                     Chicago, IL 60601
                                                     (312) 814-3739
                                                     (312) 814-4425 (FAX)
                                                     mjohnston@atg.state.il.us




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing notice and referenced pleading
was served on all counsel of record via the Court’s CM/ECF system on the 24th day of June,
2021.

                                                     /s/ Mary A. Johnston
                                                     MARY A. JOHNSTON

                                                 1
